                                                                   Case 8:15-bk-15311-MW              Doc 355 Filed 01/27/16 Entered 01/27/16 10:40:06                        Desc
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                                                                    1 William N. Lobel, State Bar No. 93202
                                                                      wlobel@lwgfllp.com
                                                                    2 Alan J. Friedman, State Bar No. 132580
                                                                      afriedman@lwgfllp.com                                                       FILED & ENTERED
                                                                    3 Beth E. Gaschen, State Bar No. 245894
                                                                      bgaschen@lwgfllp.com
                                                                    4 Christopher J. Green, State Bar No. 295874                                         JAN 27 2016
                                                                      cgreen@lwgfllp.com
                                                                    5 LOBEL WEILAND GOLDEN FRIEDMAN LLP
                                                                      650 Town Center Drive, Suite 950                                              CLERK U.S. BANKRUPTCY COURT
                                                                                                                                                    Central District of California
                                                                    6 Costa Mesa, California 92626                                                  BY bolte      DEPUTY CLERK
                                                                      Telephone 714-966-1000
                                                                    7 Facsimile    714-966-1002

                                                                    8 Attorneys for Debtors and Debtors-in-Possession

                                                                    9                                  UNITED STATES BANKRUPTCY COURT

                                                                   10                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                   SANTA ANA DIVISION
                                                                   11
Lobel Weiland Golden Friedman LLP




                                                                        In re                                                     Case No. 8:15-bk-15311-MW
                                                                   12
                                                Fax 714-966-1002
                                650 Town Center Drive, Suite 950




                                                                      FREEDOM COMMUNICATIONS, INC., et                            Chapter 11
                                  Costa Mesa, California 92626




                                                                   13 al.,1
                                                                                                                   (Jointly Administered with Case Nos.
                                                                   14                       Debtors and            8:15-bk-15312-MW; 8:15-bk-15313-MW;
                                                                                            Debtors-in-Possession. 8:15-bk-15315-MW; 8:15-bk-15316-MW;
                                                                   15
                              Tel 714-966-1000




                                                                                                                   8:15-bk-15317-MW; 8:15-bk-15318-MW;
                                                                        Affects:                                   8:15-bk-15319-MW; 8:15-bk-15320-MW;
                                                                   16                                              8:15-bk-15321-MW; 8:15-bk-15322-MW;
                                                                            All Debtors                            8:15-bk-15323-MW; 8:15-bk-15324-MW;
                                                                   17                                              8:15-bk-15325-MW; 8:15-bk-15326-MW;
                                                                            Freedom Communications, Inc., a        8:15-bk-15327-MW; 8:15-bk-15328-MW;
                                                                   18   Delaware corporation, ONLY                 8:15-bk-15329-MW; 8:15-bk-15330-MW;
                                                                                                                   8:15-bk-15332-MW; 8:15-bk-15337-MW;
                                                                   19       Freedom Communications Holdings,       8:15-bk-15339-MW; 8:15-bk-15340-MW;
                                                                        Inc., a Delaware corporation, ONLY         8:15-bk-15342-MW; 8:15-bk-15343-MW)
                                                                   20

                                                                   21
                                                                            1
                                                                                The last four digits of the Debtors' federal tax identification numbers are as follows: Freedom
                                                                   22 Communications, Inc. (0750); Freedom Communications Holdings, Inc. (2814); Freedom Services, Inc.
                                                                        (3125); 2100 Freedom, Inc. (7300); OCR Community Publications, Inc. (9752); Daily Press, LLC (3610);
                                                                   23 Freedom California Mary Publishing, Inc. (4121); Freedom California Ville Publishing Company LP (7735);
                                                                        Freedom Colorado Information, Inc. (7806); Freedom Interactive Newspapers, Inc. (9343); Freedom
                                                                   24 Interactive Newspapers of Texas, Inc. (8187); Freedom Newspaper Acquisitions, Inc. (4322); Freedom
                                                                        Newspapers (7766); Freedom Newspapers, Inc. (3240); Freedom Newspapers of Southwestern Arizona,
                                                                   25 Inc. (5797); OCR Information Marketing, Inc. (7983); Odessa American (7714); Orange County Register
                                                                        Communications, Inc. (7980); Victor Valley Publishing Company (6082); Victorville Publishing Company
                                                                   26 (7617); Freedom SPV II, LLC (8253); Freedom SPV VI, LLC (8434); Freedom SPV I, LLC (3293); Freedom
                                                                        SPV IV, LLC (8500); and Freedom SPV V, LLC (9036). The Debtors' mailing address is 625 N. Grand
                                                                   27 Avenue, Santa Ana, California 92701.

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                                                                        #1055290                                                             ORDER GRANTING BAR DATE MOTION.
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                                                                    1       Freedom Services, Inc., a Delaware      ORDER GRANTING MOTION FOR ORDER
                                                                        corporation, ONLY                           ESTABLISHING A BAR DATE FOR
                                                                    2                                               FILING PROOFS OF CLAIM AND
                                                                          2100 Freedom, Inc., a Delaware            APPROVING FORM AND MANNER OF
                                                                    3 corporation, ONLY                             NOTICE OF BAR DATE
                                                                    4       OCR Community Publications, Inc., a
                                                                        California corporation, ONLY                [No Hearing Required Pursuant to L.B.R.
                                                                    5                                               9013-1(q)]
                                                                           Daily Press, LLC, a California limited
                                                                    6 liability company, ONLY

                                                                    7       Freedom California Mary Publishing,
                                                                        Inc., a California corporation, ONLY
                                                                    8
                                                                          Freedom California Ville Publishing
                                                                    9 Company LP, a California limited
                                                                      partnership, ONLY
                                                                   10
                                                                          Freedom Colorado Information, Inc., a
                                                                   11 Delaware corporation, ONLY
Lobel Weiland Golden Friedman LLP




                                                                   12      Freedom Interactive Newspapers, Inc.,
                                                Fax 714-966-1002
                                650 Town Center Drive, Suite 950




                                                                        a California corporation, ONLY
                                  Costa Mesa, California 92626




                                                                   13
                                                                         Freedom Interactive Newspapers of
                                                                   14 Texas, Inc., a Delaware corporation, ONLY

                                                                   15      Freedom Newspaper Acquisitions, Inc.,
                              Tel 714-966-1000




                                                                        a Delaware corporation, ONLY
                                                                   16
                                                                          Freedom Newspapers, a Texas general
                                                                   17 partnership, ONLY

                                                                   18       Freedom Newspapers, Inc., a Delaware
                                                                        corporation, ONLY
                                                                   19
                                                                          Freedom Newspapers of Southwestern
                                                                   20 Arizona, Inc., a California corporation,
                                                                      ONLY
                                                                   21
                                                                          OCR Information Marketing, Inc., a
                                                                   22 California corporation, ONLY

                                                                   23       Odessa American, a Texas general
                                                                        partnership, ONLY
                                                                   24
                                                                          Orange County Register
                                                                   25 Communications, Inc., a California
                                                                      corporation, ONLY
                                                                   26
                                                                          Victor Valley Publishing Company, a
                                                                   27 California corporation, ONLY

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                                                                        #1055290
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                                                                    1       Victorville Publishing Company, a
                                                                        California limited partnership, ONLY
                                                                    2
                                                                           Freedom SPV II, LLC, a Delaware
                                                                    3 limited liability company, ONLY

                                                                    4        Freedom SPV VI, LLC, a Delaware
                                                                        limited liability company, ONLY
                                                                    5
                                                                           Freedom SPV I, LLC, a Delaware
                                                                    6 limited liability company, ONLY

                                                                    7        Freedom SPV IV, LLC, a Delaware
                                                                        limited liability company, ONLY
                                                                    8
                                                                           Freedom SPV V, LLC, a Delaware
                                                                    9 limited liability company, ONLY

                                                                   10

                                                                   11              Upon the review and consideration of the Debtors’ Motion for Order Establishing a
Lobel Weiland Golden Friedman LLP




                                                                   12 Bar Date for Filing Proofs of Claim and Approving Form and Manner of Notice of Bar
                                                Fax 714-966-1002
                                650 Town Center Drive, Suite 950
                                  Costa Mesa, California 92626




                                                                   13 Date; Declaration of Beth E. Gaschen in Support Thereof (the “Motion”)2 [Docket No. 341],

                                                                   14 filed by Freedom Communications, Inc., a Delaware corporation (“Freedom

                                                                   15 Communications”) and each of its related jointly administered debtors and debtors-in-
                              Tel 714-966-1000




                                                                   16 possession in the above-captioned chapter 11 cases (the “Debtors”), and the records,

                                                                   17 pleadings, and other documents on file in these cases; the Court having found that notice

                                                                   18 of the Motion was proper, and good cause appearing therefor,

                                                                   19              IT IS HEREBY ORDERED THAT:
                                                                   20              1. The Motion is granted in its entirety;

                                                                   21              2. The Notice of the Bar Date (“Bar Date Notice”), which is appended hereto as

                                                                   22 Exhibit “1” is hereby approved;

                                                                   23              3. The procedures as set forth in the Motion for the mailing of the Bar Date Notice

                                                                   24 and filing proofs of claim in the Cases are hereby approved;

                                                                   25

                                                                   26
                                                                            2
                                                                                Any and all capitalized terms not expressly defined herein shall have the meaning ascribed to them in
                                                                   27 the Motion.

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                                                                        #1055290
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                                                                    1              4. All creditors except for those set forth in Section D of the Motion must file a

                                                                    2 proof of claim by the applicable Bar Dates as set forth in the Bar Date Notice;

                                                                    3              5. Any claimant that is required to, but does not, file a proof of claim by the

                                                                    4 applicable Bar Date with respect to a claim shall be forever barred, estopped and enjoined

                                                                    5 from asserting such claim against the Debtors and their estates (or filing a proof of claim

                                                                    6 with respect thereto), and the Debtors and their property shall be forever discharged from

                                                                    7 any and all indebtedness or liability with respect to such claim, and such holder shall not

                                                                    8 be permitted to vote to accept or reject any plan in these cases, or participate in any

                                                                    9 distribution on account of such claim or receive further notices regarding such claim in the

                                                                   10 Cases.

                                                                   11                                                    ###
Lobel Weiland Golden Friedman LLP




                                                                   12
                                                Fax 714-966-1002
                                650 Town Center Drive, Suite 950
                                  Costa Mesa, California 92626




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                              Tel 714-966-1000




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                                                                         Date: January 27, 2016
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                                                                        #1055290
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                        EXHIBIT "1"
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 Attorney or Party Name, Address, Telephone & FAX Nos.,                   FOR COURT USE ONLY
 State Bar No. & Email Address

 LOBEL WEILAND GOLDEN FRIEDMAN LLP
 William N. Lobel, SBN 93202, wlobel@lwgfllp.com
 Alan J. Friedman, SBN 132580, afriedman@lwgfllp.com
 650 Town Center Drive, Suite 950
 Costa Mesa, CA 92626
 Tel: (714) 966-1000; Fax: (714) 966-1002

 [ ] Individual appearing without attorney
 [ X ] Attorney for: Debtors and Debtors-in-Possession


                                                 UNITED STATES BANKRUPTCY COURT
                                         CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

 In re:                                                                            CASE NO. 8:15-bk-15311-MW

 FREEDOM COMMUNICATIONS, INC.                                                      CHAPTER: 11

 FREEDOM COMMUNICATIONS HOLDINGS, INC.                                             (Jointly Administered with Case Nos.:
                                                                                   8:15-bk-15312-MW; 8:15-bk-15313-MW;
 FREEDOM SERVICES, INC.                                                            8:15-bk-15315-MW; 8:15-bk-15316-MW; 8:15-bk-
                                                                                   15317-MW; 8:15-bk-15318-MW; 8:15-bk-15319-
 2100 FREEDOM, INC.                                                                MW; 8:15-bk-15320-MW; 8:15-bk-15321-MW;
                                                                                   8:15-bk-15322-MW; 8:15-bk-15323-MW; 8:15-bk-
 OCR COMMUNITY PUBLICATIONS, INC.                                                  15324-MW; 8:15-bk-15325-MW; 8:15-bk-15326-
                                                                                   MW; 8:15-bk-15327-MW; 8:15-bk-15328-MW;
 DAILY PRESS, LLC                                                                  8:15-bk-15329-MW; 8:15-bk-15330-MW; 8:15-bk-
                                                                                   15332-MW; 8:15-bk-15337-MW; 8:15-bk-15339-
 FREEDOM CALIFORNIA MARY PUBLISHING, INC.                                          MW; 8:15-bk-15340-MW; 8:15-bk-15342-MW;
                                                                                   8:15-bk-15343-MW)
 FREEDOM CALIFORNIA VILLE PUBLISHING COMPANY LP

 FREEDOM COLORADO INFORMATION, INC.

 FREEDOM INTERACTIVE NEWSPAPERS, INC.                                               NOTICE OF BAR DATE FOR FILING
                                                                                    PROOFS OF CLAIM IN A CHAPTER
 FREEDOM INTERACTIVE NEWSPAPERS OF TEXAS, INC.                                           11 CASE [LBR 3003-1]
 FREEDOM NEWSPAPER ACQUISITIONS, INC.
                                                                                   [ X ] No hearing: LBR 9013-1(q)
 FREEDOM NEWSPAPERS                                                                [ ] Hearing Information

 FREEDOM NEWSPAPERS, INC.                                                          DATE:
                                                                                   TIME:
 FREEDOM NEWSPAPERS OF SOUTHWESTERN ARIZONA, INC.                                  COURTROOM:
                                                                                   ADDRESS:
 OCR INFORMATION MARKETING, INC.

 ODESSA AMERICAN



_______________________________________________________________________________________
This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California

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 ORANGE COUNTY REGISTER COMMUNICATIONS, INC.

 VICTOR VALLEY PUBLISHING COMPANY

 VICTORVILLE PUBLISHING COMPANY

 FREEDOM SPV II, LLC

 FREEDOM SPV VI, LLC

 FREEDOM SPV I, LLC

 FREEDOM SPV IV, LLC

 FREEDOM SPV V, LLC


                               Debtors(s)




1. Bar Date. The court has set a deadline of (date) SIXTY DAYS FROM THE DATE THIS NOTICE IS
   SERVED (____________, 2016) (Bar Date), for creditors in the above-referenced case to file proofs of claim
   against the Debtor’s estate. ON OR BEFORE THE BAR DATE, PROOFS OF CLAIM MUST BE RECEIVED
   BY DONLIN RECANCO & COMPANY, INC.:

By Mail:                                                                  By courier, hand delivery, or overnight delivery:

Donlin Recano & Company, Inc.                                             Donlin Recano & Company, Inc.
Re: Freedom Communications, Inc., et al.                                  Re: Freedom Communications, Inc., et al.
P.O. Box 899                                                              6201 15th Avenue
Madison Square Station                                                    Brooklyn, NY 11219
New York, NY 10010
     PROOFS OF CLAIM SENT BY FACSIMILE, TELECOPY, OR ELECTRONIC MAIL WILL NOT BE
     ACCEPTED.
2. Form. You may obtain a Proof of Claim form (Official Form 410) on the Bankruptcy Court’s web site at
   http://www.cacb.uscourts.gov, or visit the intake area at any division of the Court, or from Donlin Recano’s
   website established for these cases at http://www.donlinrecano.com/freedom.
3. Exceptions to the Bar Date. Exceptions to the Bar Date include, but are not limited to, the following:
          (a)       Executory contracts/unexpired leases. For claims arising from rejection of any executory contract or
                    unexpired lease, the last day to file a Proof of Claim is the later of (a) the Bar Date or (b) 30 days
                    after the date of entry of an order authorizing the rejection of such contract or lease or after any
                    automatic rejection of such contract or lease. See 11 U.S.C. §§ 365(d)(4) and 502(g). A party to an
                    executory contract or unexpired lease that asserts a claim (other than a claim arising from
                    rejection of any executory contract or unexpired lease) must file a Proof of Claim for such
                    amounts by the Bar Date.
          (b)       Governmental units. For claims of governmental units, the last day to file a Proof of Claim is the
                    later of (a) the Bar Date or (b) before 180 days after the date of the Order for Relief in this case (the

_______________________________________________________________________________________
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                    person signing this form has determined that the Order for Relief was entered on (date) November 1,
                    2015, and November 2, 2015, and therefore calculates that this deadline is (date) April 29, 2016,
                    and April 30, 2016). See 11 U.S. C. §§101(27) and 502(b)(9).
          (c)       Avoidance. For claims arising from the avoidance of a transfer under chapter 5 of the Bankruptcy
                    Code (11 U.S.C. § 544 and following), the last day to file a Proof of Claim is the later of (a) the Bar
                    Date or (b) 30 days after the entry of judgment avoiding the transfer. See 11 U.S.C. § 502(h).
          (d)       Agreed claims. If your claim is listed on the Debtor’s official bankruptcy schedules of assets and
                    liabilities (Schedules) and it is not listed as disputed, contingent, unliquidated or unknown, then your
                    claim is deemed filed in the amount set forth in those Schedules. 11 U.S.C. § 1111(a). But, if your
                    claim is not listed on the Schedules, or is listed as disputed, contingent, unliquidated or unknown, or
                    if you disagree with the amount or description of your claim (e.g., its description as unsecured or
                    non-priority), then you must timely file a Proof of Claim as set forth in this Notice.
4. 11 U.S.C. § 503(b)(9) Claims. Claims arising from unpaid goods received by the Debtor in the ordinary course
   of business within 20 days prepetition are subject to an administrative expense priority pursuant to 11 U.S.C. §§
   507(a)(2) and 503(b)(9). Any creditor who wishes to assert such a claim must file a Proof of Claim by the Bar
   Date, modified as follows: (a) Section 2 of Proof of Claim. Identify: (i) the goods for which the Debtor has not
   paid; (ii) the method(s) of shipment; (iii) the actual date(s) when those goods were received by the Debtor (or
   state that an estimated date has been used); and (iv) the place of deliver – e.g., “computes shipped via U.S. mail,
   received by the Debtor at the Debtor’s warehouse on [insert estimated date]” (use a continuation sheet if
   necessary); (b) Section 5 of Proof of Claim. Check the box for “Other” priority and specify that priority is under
   11 U.S.C. §§ 507(a)(2) and 503(b)(9).
5. Interest Holders. If the Debtor or the chapter 11 trustee believes it necessary to set a bar date for interest holders
   (e.g., holders of common or preferred stock), then, before this Notice is served, the chambers of the presiding
   judge in this case must be contacted for further instructions.
FAILURE OF A CREDITOR TO FILE A PROOF OF CLAIM ON OR BEFORE THE DEADLINE MAY
RESULT IN DISALLOWNACE OF THE CLAIM OR SUBORDINATION UNDER THE TERMS OF A
PLAN OF RECORGANIZATION WITHOUT FURTHER NOTICE OR HEARING. 11 U.S.C. § 502((b)(9).
CREDITORS MAY WISH TO CONSULT AN ATTORNEY TO PROTECT THEIR RIGHTS.


Date: ______________________                                  By: _________________________________________
                                                              Signature of Debtor, chapter 11 trustee, or their attorney


                                                              Name: ______________________________________
                                                              Printed name of Debtor, chapter 11 trustee, or their attorney




_______________________________________________________________________________________
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